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                         Exhibit B
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                                             January 28, 2025

     Rachel Licina
     Grants Officer
     Bureau of Population, Refugees, and Migration
     U.S. Department of State

     Dear Ms. Licina:

     The U.S. Conference of Catholic Bishops is in receipt of the Notice of Suspension issued by the
     Department of State’s Bureau of Population, Refugees, and Migration (PRM) on January 24,
     2025. We would like to underscore the lifesaving nature of the services provided through the
     Reception and Placement (R&P) program, including the provision of housing support,
     emergency food assistance, and emergency medical care to newly arrived refugees and Special
     Immigrant Visa (SIV) holders who have been processed and approved for resettlement in the
     United States by the federal government. The R&P program is also consistent with the
     Administration’s goals to make the United States safer and stronger, as it operates domestically
     to ensure that newly arrived refugees and SIV holders are able to integrate successfully into
     local communities.

     Based on our understanding of our R&P awards, we do not consider meeting present
     obligations to provide assistance to refugees and SIV holders already lawfully admitted to the
     United States to represent “new costs”, as referenced in the Notice. Consistent with the terms of
     our awards, for those refugees and SIV holders in their initial 90-day R&P service periods, we
     intend to seek reimbursement for all costs associated with serving these beneficiaries, per the
     Notice of Suspension’s language regarding payment requests for “for legitimate expenses
     incurred prior to the date of this Notice of Suspension or legitimate expenses associated with
     this Notice of Suspension.” Please advise immediately if your direction is inconsistent with this
     understanding.

     We also have the following questions related to the Notice of Suspension:
        x As stated in the Executive Order on “Reevaluating and Realigning United States Foreign
            Aid”, the Secretary of State may waive the pause discussed in Section 3(a) of the
            Executive Order for specific programs. Please provide guidance regarding the process
            for requesting a formal waiver in accordance with this provision.
        x Can PRM provide further guidance on what the drawdown process will entail, in order
            to determine “legitimate expenses” incurred through January 24, as stated in the Notice
            of Suspension, in addition to drawdowns for such expenses incurred after January 24?
        x The Payment Management System (PMS) is currently inaccessible as of January 28,
            2025. Should the USCCB still submit Fiscal Year (FY) 2024 and FY 2025 quarterly
            financial and progress reports due this week?

     Thank you for your prompt attention to these pressing matters.

     Respectfully,




     William Canny
     Executive Director, Migration and Refugee Services
     U.S. Conference of Catholic Bishops
